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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

                    Plaintiff,


 Vs.                                          Case No. 17-cr-20183
                                              Hon. Mark A. Goldsmith


 HAROLD LASHAWN NERO (D-5),

                    Defendant.

   _________________________________________________________


          DEFENDANT NERO’S MOTION IN LIMINE
    TO PRECLUDE LAW ENFORCEMENT IDENTIFICATION OF
 DEFENDANT NERO IN SURVEILLANCE VIDEOS AND TO PRECLUDE
    THE GOVERNMENT FROM COMMENTING AS TO WHAT IS
                 DEPICTED IN THE VIDEOS


       Defendant Harold Nero moves this Honorable Court to preclude the

 Government from identifying Nero in any video and to preclude the Government

 from giving any comments as to what the video depicts regarding the Victory Inn

 security videos, consistent with Fed. R. Evid. 701, and the protected province of

 the jury under the Sixth Amendment to the U.S. Constitution.




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                                       Respectfully submitted,

 Date: January 2, 2020

                                       By: /s/Mark H. Magidson
                                         MARK H. MAGIDSON (P25581)
                                         Attorney for Defendant Nero (D-5)
                                         615 Griswold, Suite 810
                                         Detroit, MI 48226
                                           (313) 963-4311
                                           mmag100@aol.com




                         Statement Regarding Concurrence

       I certify and affirm that pursuant to E.D. Mich. LR 7.1(a)(2)(A), defense
 counsel sought concurrence in this motion and discovery request but did not obtain
 concurrence in the relief sought. E.d. Mich. LR 37.1, LR 372.


                                   By: /s/Mark H. Magidson
                                   MARK H. MAGIDSON (P25581)
                                   Attorney for Defendant Nero




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                   BRIEF IN SUPPORT OF
          DEFENDANT NERO’S MOTION IN LIMINE
    TO PRECLUDE LAW ENFORCEMENT IDENTIFICATION OF
 DEFENDANT NERO IN SURVEILLANCE VIDEOS AND TO PRECLUDE
    THE GOVERNMENT FROM COMMENTING AS TO WHAT IS
                 DEPICTED IN THE VIDEOS




                                       FACTS


       Defendant Nero is charged in the Superseding Indictment (Doc. 98) with the

 following offenses: sex trafficking conspiracy; sex trafficking by force, fraud and

 coercion, aiding and abetting; conspiracy to distribute a controlled substance; and,

 maintaining drug-involved premises, aiding and abetting.

       The government has thousands of hours of surveillance video from the

 Victory Inn (“Inn”), allegedly showing the Defendants at various times around the

 Inn over a two month period. The government intends to introduce that video

 evidence at trial, some of it without any audio recording. None of the law

 enforcement officers was familiar with Nero and his appearance at the time of the

 surveillance video recordings.

       It is anticipated that the government will attempt to identify Defendant Nero

 in the video. The defense objects to any witness identifying Nero in any video

 recording unless that witness is a res gestae witness who was also present in the

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 video. Defendant is further seeking an Order that would preclude the Government

 from commenting as to what is being viewed in the video(s)



                                    ARGUMENT


       The "‘truth of every accusation’ against a defendant ‘should afterwards be

 confirmed by the unanimous suffrage of twelve of his equals and neighbors.’"

 Blakely v. Washington, 542 U.S. 296, 301, 124 S. Ct. 2531, 2536 (2004)(citing 4

 W. Blackstone, Commentaries on the Laws of England 343 (1769)).

       Fed. R. Evid. 701 permits lay opinion testimony that is “(a) rationally based

 on the witness’s perception; (b) helpful to clearly understanding the witness’s

 testimony or to determining a fact in issue; and (c) not based on scientific,

 technical, or other specialized knowledge within the scope of Rule 702.”

       "The primary purpose of Rule 701 is to allow nonexpert witnesses to give

 opinion testimony when, as a matter of practical necessity, events which they have

 personally observed cannot otherwise be fully presented to the court or the jury."

 Randolph v. Collectramatic, Inc., 590 F.2d 844, 846 (10th Cir. 1979) (citing

 Weinstein's Evidence P 701(02) (1977)).

       Here, Defendant Nero moves this Court to preclude lay identification,

 depiction, and opinion by law enforcement witnesses because it invades the

 province of the jury and is not "helpful to the determination of a fact in issue"



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 under Rule 701.

       “[S]uch testimony is admissible, at least when the witness possesses

 sufficiently relevant familiarity with the defendant that the jury cannot also

 possess, and when the photographs are not either so unmistakably clear or so

 hopelessly obscure that the witness is no better-suited than the jury to make the

 identification.” United States v. Jackman, 48 F.3d 1, 4-5 (1st Cir. 1995).

       The following factors as relevant to the analysis of preclusion: (1) the

 witness's general level of familiarity with the defendant's appearance; (2) the

 witness's familiarity with the defendant's appearance at the time the surveillance

 photograph was taken or when the defendant was dressed in a manner similar to

 the individual depicted in the photograph; (3) whether the defendant had disguised

 his appearance at the time of the offense; and (4) whether the defendant had altered

 his appearance prior to trial.” United States v. Dixon, 413 F.3d 540, 545-46 (6th

 Cir. 2005)(quoting United States v. Pierce, 136 F.3d 770, 774 (11th Cir. 1998); and

 citing United States v. Farnsworth, 729 F.2d 1158, 1160 (8th Cir. 1984)).

       Farnsworth held that “[a] witness's opinion concerning the identity of a

 person depicted in a surveillance photograph is admissible if there is some basis for

 concluding that the witness is more likely to correctly identify the defendant from

 the photograph than is the jury. This criteria is fulfilled where the witness is

 familiar with the defendant's appearance around the time the surveillance




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 photograph was taken and the defendant's appearance has changed prior to trial.”

 Farnsworth, 729 F.2d at 1160.

        “Other important factors are the degree of clarity of the surveillance

 photograph and the quality and completeness with which the subject is depicted in

 the photograph. Lay opinion identification testimony is more likely to be

 admissible, for example, where the surveillance photograph is of poor or grainy

 quality, or where it shows only a partial view of the subject.” Dixon, 413 F.3d at

 545.

        The Ninth Circuit Court of Appeals has also analyzed the issue:


        Lay opinion testimony of the type given by [officer] Miller is of dubious
        value. The jury, after all, was able to view the surveillance photos and
        [defendant] LaPierre and make an independent determination whether it
        believed that the individual pictured in the photos was in fact LaPierre.
        Miller's testimony therefore ran the risk of invading the province of the jury
        and unfairly prejudicing LaPierre. For these reasons we have held that while
        lay opinion testimony of this sort is sometimes permissible, "the use of lay
        opinion identification by policemen or parole officers is not to be
        encouraged, and should be used only if no other adequate identification
        testimony is available to the prosecution." Our cases upholding the use of
        testimony of this type have been limited to two types. The first type is those
        in which the witness has had substantial and sustained contact with the
        person in the photograph. The second type is those in which the defendant's
        appearance in the photograph is different from his appearance before the
        jury and the witness is familiar with the defendant as he appears in the
        photograph. The common thread binding these two types of cases is that in
        both there is reason to believe that the witness is more likely to correctly
        identify the person than is the jury. (Emphasis added.)

        [United States v. LaPierre, 998 F.2d 1460, 1465 (9th Cir. 1993)(citations
        omitted).]


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       Considering the Dixon factors in this case, the law enforcement officers did

 not know Nero and had not seen him in person at the time he was recorded. Their

 knowledge of his appearance is from the surveillance videos and his later arrest.

 Nero was dressed in a normal manner in the surveillance video; he was not in any

 obscuring disguise. Nero’s appearance and his appearance at the time of the alleged

 offenses is not significantly different, and he has not altered his appearance.

       There is also no basis for concluding that the law enforcement witnesses are

 more likely to correctly identify the defendant from the surveillance video than the

 jury. Just as in Dixon, the surveillance video here “is not of particularly poor or

 grainy quality, and it fully depicts the suspect's body from the waist up.” Dixon,

 413 F.3d at 546. Further, there is no justification for the Government giving its

 version as to what is being depicted in the videos. That is left to the jury to

 determine.




      WHEREFORE, Defendant Nero (D-5) moves this Honorable Court to

 preclude the law enforcement witness, law opinion identification of Nero in any of

 the Victory Inn security videos, and to preclude the Government from commenting

 on any activity depicted in the videos.



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                                          Respectfully submitted,
 Date: January 2, 2020
                                          By: /s/Mark H. Magidson
                                            MARK H. MAGIDSON (P25581)
                                            Attorney for Defendant Nero (D-5)
                                            615 Griswold, Suite 810
                                            Detroit, MI 48226
                                            (313) 963-4311
                                            mmag100@aol.com




                            CERTIFICATE OF SERVICE

       I certify that on January 2, 2020, I electronically filed the above Motion in

 Limine with the Clerk of the Court using the CM/ECF system, which will send

 notification of such filing to the parties of record.


                                          By: /s/Mark H. Magidson
                                            MARK H. MAGIDSON (P25581)
                                            Attorney for Defendant Nero (D-5)




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